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 EXHIBIT 1
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 EXHIBIT 3
Case 3:24-cv-00961-JSC Document 8-5 Filed 02/20/24 Page 8 of 67
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 EXHIBIT 4
                             Case 3:24-cv-00961-JSC Document 8-5 Filed 02/20/24 Page 10 of 67

                            Secretary of State                                                      LLC-12                                         21-D66477
                            Statement of Information
                            (Limited Liability Company)                                                                                             FILED
                                                                                                                                    In the office of the Secretary of State
 IMPORTANT — Read instructions before completing this form.                                                                                of the State of California

 Filing Fee – $20.00
                                                                                                                                                    JUL 20, 2021
 Copy Fees – First page $1.00; each attachment page $0.50;
             Certification Fee - $5.00 plus copy fees
                                                                                                                                    This Space For Office Use Only
 1. Limited Liability Company Name (Enter the exact name of the LLC. If you registered in California using an alternate name, see instructions.)
  ASTRO VASTU SOLUTIONS LLC
 2. 12-Digit Secretary of State File Number                                           3. State, Foreign Country or Place of Organization (only if formed outside of California)
                             201234810022                                               CALIFORNIA
 4. Business Addresses
 a. Street Address of Principal Office - Do not list a P.O. Box                                       City (no abbreviations)                                       State    Zip Code
 3494 Camino Tassajara No 231                                                                        Danville                                                       CA       94506
 b. Mailing Address of LLC, if different than item 4a                                                 City (no abbreviations)                                       State    Zip Code
 3494 Camino Tassajara No 231                                                                        Danville                                                       CA       94506
 c. Street Address of California Office, if Item 4a is not in California - Do not list a P.O. Box     City (no abbreviations)                                       State    Zip Code
 3494 Camino Tassajara No 231                                                                        Danville                                                        CA       94506
                                             If no managers have been appointed or elected, provide the name and address of each member. At least one name and address
                                             must be listed. If the manager/member is an individual, complete Items 5a and 5c (leave Item 5b blank). If the manager/member is
 5. Manager(s) or Member(s)                  an entity, complete Items 5b and 5c (leave Item 5a blank). Note: The LLC cannot serve as its own manager or member. If the LLC
                                             has additional managers/members, enter the name(s) and addresses on Form LLC-12A (see instructions).
 a. First Name, if an individual - Do not complete Item 5b                                            Middle Name                      Last Name                                         Suffix
  Vaneet                                                                                                                              Sharma
 b. Entity Name - Do not complete Item 5a


 c. Address                                                                                           City (no abbreviations)                                       State    Zip Code
  4975 Camino Tassajara                                                                              Danville                                                       CA      94506
 6. Service of Process (Must provide either Individual OR Corporation.)
      INDIVIDUAL – Complete Items 6a and 6b only. Must include agent’s full name and California street address.
 a. California Agent's First Name (if agent is not a corporation)                                     Middle Name                      Last Name                                         Suffix
 Vaneet                                                                                                                               Sharma
 b. Street Address (if agent is not a corporation) - Do not enter a P.O. Box                          City (no abbreviations)                                       State    Zip Code
 4975 Camino Tassajara                                                                               Danville                                                        CA        94506
      CORPORATION – Complete Item 6c only. Only include the name of the registered agent Corporation.
 c. California Registered Corporate Agent’s Name (if agent is a corporation) – Do not complete Item 6a or 6b



 7. Type of Business
 a. Describe the type of business or services of the Limited Liability Company
 Astrology and Vaastu Consultancy
 8. Chief Executive Officer, if elected or appointed
 a. First Name                                                                                        Middle Name                      Last Name                                         Suffix
 Vaneet                                                                                                                                Sharma
 b. Address                                                                                           City (no abbreviations)                                       State    Zip Code
 4975 Camino Tassajara                                                                               Danville                                                        CA      94506
 9. The Information contained herein, including any attachments, is true and correct.

   07/20/2021                    Vaneet Sharma                                                                          CEO
  _____________________            ____________________________________________________________                         _________________________     __________________________________
   Date                              Type or Print Name of Person Completing the Form                                    Title                          Signature
Return Address (Optional) (For communication from the Secretary of State related to this document, or if purchasing a copy of the filed document enter the name of a
person or company and the mailing address. This information will become public when filed. SEE INSTRUCTIONS BEFORE COMPLETING.)

Name:                                                                                                              
Company:

Address:
City/State/Zip:                                                                                                    

 LLC-12 (REV 01/2017)
                                                                                            Page 1 of 1                                             2017 California Secretary of State
                                                                                                                                                       www.sos.ca.gov/business/be
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                         STATE OF CALIFORNIA                                                          For Office Use Only
                         Office of the Secretary of State
                         STATEMENT OF INFORMATION                                                      -FILED-
                         LIMITED LIABILITY COMPANY
                         California Secretary of State                                        File No.: BA20221154725
                         1500 11th Street                                                     Date Filed: 11/21/2022
                         Sacramento, California 95814
                         (916) 653-3516



Entity Details
  Limited Liability Company Name                              ASTRO VASTU SOLUTIONS LLC
  Entity No.                                                  201234810022
  Formed In                                                   CALIFORNIA
Street Address of Principal Office of LLC
  Principal Address                                           4975 CAMINO TASSAJARA
                                                              DANVILLE, CA 94506
Mailing Address of LLC
  Mailing Address                                             4975 CAMINO TASSAJARA
                                                              DANVILLE, CA 94506
  Attention
Street Address of California Office of LLC
  Street Address of California Office                         4975 CAMINO TASSAJARA
                                                              DANVILLE, CA 94506
Manager(s) or Member(s)

                           Manager or Member Name                               Manager or Member Address

   Vaneet Sharma                                             4975 Camino Tassajara
                                                             Danville, CA 94506


Agent for Service of Process
  Agent Name                                                  VANEET SHARMA
  Agent Address                                               4975 CAMINO TASSAJARA
                                                              DANVILLE, CA 94506
Type of Business
  Type of Business                                            ASTROLOGY AND VAASTU CONSULTANCY
Email Notifications
  Opt-in Email Notifications                                  No, I do NOT want to receive entity notifications via email. I
                                                              prefer notifications by USPS mail.
Chief Executive Officer (CEO)

                                   CEO Name                                            CEO Address

   Vaneet Sharma                                             4975 Camino Tassajara
                                                             Danville, CA 94506


Labor Judgment
  No Manager or Member of this Limited Liability Company has an outstanding final judgment issued by the Division
  of Labor Standards Enforcement or a court of law, for which no appeal therefrom is pending, for the violation of any
  wage order or provision of the Labor Code.




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                                                                                                                                           B1266-0525 11/21/2022 1:41 PM Received by California Secretary of State
Electronic Signature

       By signing, I affirm under penalty of perjury that the information herein is true and correct and that I am authorized by
       California law to sign.


  Edward Younger                                                     11/21/2022
  Signature                                                          Date




                                                                                                                                   Page 2 of 2
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  EXHIBIT 5
                Case 3:24-cv-00961-JSC Document 8-5 VANEET
FOR UTILITY / CABLE / TELECOM PURPOSES ONLY
                                                     Filed N02/20/24  Page 14 of 67
                                                             SHARMA-Comprehensive-Report-202308151745




Important:                                                                                                ONLINE REPORT

This is NOT a CONSUMER REPORT and does not constitute a "consumer report" under the Fair Credit Reporting Act ("FCRA"). This
report may not be used to determine the eligibility for credit, insurance, employment or any other purpose regulated under the
FCRA.

This system may be used only in accordance with your Subscriber Agreement, the Gramm-Leach-Bliley Act ("GLBA"), the Driver's
Privacy Protection Act ("DPPA") and all other applicable laws. User agrees to having knowledge of all applicable laws pertaining to
the usage of data. User accepts all responsibility civilly and criminally for any use of this system.

Violations of these restrictions or misuse of this system will cause your access to be terminated and will cause an immediate
investigation.



                                                Comprehensive Report



Comprehensive Report                          Report Legend
Date: 08/15/2023                                      - Deceased Person                  Relatives
Reference ID: NONE                                                                               > - 1st Degree of Separation
                                                                                                 >> - 2nd Degree of Separation
                                                                                                 >>> - 3rd Degree of Separation



Subject Information                                                                         Indicators
                                              Other Names Associated with Subject           Bankruptcies: No
(Best Information for Subject)                None found                                    Liens: No
                                                                                            Judgments: No
Name: VANEET N SHARMA (01/01/1998 to          Other DOBs Associated with Subject            Properties: Yes
06/02/2023)                                   None found                                    Corporate Affiliations: Yes
Date of Birth: XX/XX/1972, Born 50 years                                                    Criminal/Traffic: No
ago                                           Possible Phones Associated with Subject:      Global Watch Lists Match: No
SSN: XXX-XX-       issued in CALIFORNIA       (925) 753-1940 (PT) (LandLine) (88%)
in 1987                                       (925) 628-3334 (PT) (Mobile) (86%)            Email Addresses Associated with
                                              (530) 365-3699 (PT) (LandLine) (66%)          Subject
                                              (707) 643-8501 (PT) (LandLine) (66%)          vaneesha@sbcglobal.net (79%)
Other Individuals Observed with shared SSN:   (530) 527-7746 (PT) (LandLine) (40%)          vaneeshausa@gmail.com (70%)
                                              (925) 692-3334 (PT) (LandLine) (3%)           spatcher14@aol.com (40%)
                                              (925) 692-3338 (PT) (LandLine) (3%)           ajoshi197267@yahoo.com (40%)
                                              (530) 526-9622 (PT) (Mobile) (3%)
                                              (925) 753-1490 (PT) (LandLine) (3%)
                                              (707) 644-9622 (PT) (LandLine) (3%)



Potential Subject Photos (None Found)

Possible Criminal Records (None Found)

Possible Employers (2 Found)




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FOR UTILITY / CABLE / TELECOM PURPOSES ONLY
                                                   Filed N02/20/24  Page 15 of 67
                                                           SHARMA-Comprehensive-Report-202308151745




Business Name: NVND INVESTMENT LLC (04/13/2012 to 04/04/2023) [ View Business Record ]
Address: 4975 CAMINO TASSAJARA, DANVILLE, CA 94506 (CONTRA COSTA COUNTY)



Business Name: ASTRO VASTU SOLUTIONS LLC (12/21/2012 to 04/04/2023) [ View Business Record ]
Phone: (925) 753-1940 (PT) ASTRO VASTU SOLUTIONS LLC
Address: 3494 CAMINO TASSAJARA # 231, DANVILLE, CA 94506 (CONTRA COSTA COUNTY)




Address Summary (12 Found)

4975 CAMINO TASSAJARA, DANVILLE, CA 94506-5905 (CONTRA COSTA COUNTY) (04/2004 to 08/15/2023)
41 SOLANO AVE, BAY POINT, CA 94565-1621 (CONTRA COSTA COUNTY) (04/2004 to 01/25/2023)
3494 CAMINO TASSAJARA, DANVILLE, CA 94506-4680 (CONTRA COSTA COUNTY) (05/2015 to 09/02/2022)
3362 HACIENDA WAY, ANTIOCH, CA 94509-5408 (CONTRA COSTA COUNTY) (05/01/2003 to 11/2021)
1201 FINLEY RD, PLEASANTON, CA 94588-9503 (ALAMEDA COUNTY) (03/12/2020 to 03/12/2020)
3440 S MARKET ST, REDDING, CA 96001-3840 (SHASTA COUNTY) (12/03/1999 to 01/07/2014)
315 25TH ST, RICHMOND, CA 94804-1770 (CONTRA COSTA COUNTY) (08/30/2012 to 08/30/2012)
3008 CHURCH ST, ANDERSON, CA 96007-3307 (SHASTA COUNTY) (01/03/2001 to 10/20/2004)
3008 CHURCH ST # 3010, ANDERSON, CA 96007-3307 (SHASTA COUNTY) (06/07/2002 to 04/22/2003)
471 ROBLES WAY, VALLEJO, CA 94591-8085 (SOLANO COUNTY) (01/1998 to 04/01/2003)
3626 GEORGIA ST, VALLEJO, CA 94591-5608 (SOLANO COUNTY) (01/05/2001 to 01/23/2003)
PO BOX 1514, ANDERSON, CA 96007-1514 (SHASTA COUNTY) (01/19/2001 to 08/01/2001)



Address Details (12 Found)

4975 CAMINO TASSAJARA, DANVILLE CA 94506-5905 (CONTRA COSTA COUNTY) (04/2004 to 08/15/2023) [ Back to Summary ]
  Owner:
     SHARMA VANEET LIVING TRUST
  Purchase Date: 12/12/2022
  Assessed Value: $963,499
  Living Square Feet: 1,364
  Land Square Feet: 261,360

41 SOLANO AVE, BAY POINT CA 94565-1621 (CONTRA COSTA COUNTY) (04/2004 to 01/25/2023) [ Back to Summary ]
  Address contains: 8 apartments
  Owner:
     SHARMA VANEET LIVING TRUST
  Purchase Date: 12/12/2022
  Assessed Value: $797,160
  Living Square Feet: 3,776
  Land Square Feet: 16,400

3494 CAMINO TASSAJARA, DANVILLE CA 94506-4680 (CONTRA COSTA COUNTY) (05/2015 to 09/02/2022) [ Back to Summary ]
 Current Commercial Phones at address
  (925) 447-9390(PT) - G.A.WIRTH COMPANY, INC
  (925) 447-9398(PT) - G.A.WIRTH COMPANY, INC
  (925) 736-9880(PT) - PARCEL PLUS
  (925) 964-9346(PT) - POSTAL ANNEX OF DANVILLE
  (925) 208-4076(PT) - U-HAUL NEIGHBORHOOD DEALER

3362 HACIENDA WAY, ANTIOCH CA 94509-5408 (CONTRA COSTA COUNTY) (05/01/2003 to 11/2021) [ Back to Summary ]
  Owners:
    DIONICIO M GARCIA [ View Person Record ]




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  EXHIBIT 6
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  EXHIBIT 7
        Case 3:24-cv-00961-JSC Document 8-5 Filed 02/20/24 Page 21 of 67




                                        September 27, 2023

VIA CMRRR & EMAIL

Sharma IPTV
Mr. Vaneet Sharma
4975 Camino Tassajara
Danville, CA
94506-4680
Email : IPTVsharma@gmail.com, vaneetsharma@vastuexpertusa.com
Case#: 5bfd4c8a
Cease & Desist Notice re: Sharma IPTV Infringing Streaming Service
Dear Mr. Sharma,
        This letter is sent on behalf of DISH Network L.L.C. (“DISH”) and NagraStar LLC
(“NagraStar”). DISH provides television programming to millions of authorized, fee-paying
subscribers in the United States via satellite and internet communications that are protected using
security measures provided by companies such as NagraStar.
        We are writing about your involvement in the operation of an infringing streaming service
known as Sharma IPTV (the “Service”). NagraStar’s testing of the Service, demonstrates that
television programming originating from the internet communications of DISH has been
retransmitted without authorization through your Sharma IPTV service.
       DISH’s internet transmissions of television programming, which include various
copyrighted works (the “Programming”), are secured using digital rights management (“DRM”)
technologies that include, based on the subscriber’s viewing platform, Google’s Widevine DRM,
Apple’s FairPlay DRM, and Microsoft’s PlayReady DRM. Each DRM has a key-based encryption
and decryption process that is used to make the Programming accessible to only authorized DISH
subscribers that purchased access to that Programming and restricts unauthorized access to,
copying, and retransmission of the Programming. The DRMs implemented by DISH are
circumvented to acquire the Programming that is retransmitted on the Service.
        Your involvement in the operation of the Service violates federal law including the Digital
Millennium Copyright Act, 17 U.S.C. § 1201 (“DMCA”). The DMCA prohibits circumvention of
technological measures that control access to copyrighted works, such as the DRMs implemented
by DISH and Sling that are circumvented to obtain the Programming that is retransmitted without
authorization on the Service. Id. § 1201(a)23150(1). The DMCA also makes it unlawful to
manufacture, offer to the public, provide, or traffic in any product or service that, as a whole or in
terms of any component or part, is primarily designed or produced for circumventing a
technological measure such as the DRMs implemented by DISH and Sling, or has only limited
commercially significant purpose or use other than to circumvent the DRMs. Id. § 1201(a)(2). You
violate this provision of the DMCA through your involvement in operating the Service because at
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least part of the Service is designed, produced, and has no purpose or use other than to circumvent
the DRMs that protect the Programming. The DMCA authorizes the recovery of significant
statutory damages, including up to $2,500 for each instance that you provided access to the Service.
Id. § 1203(c)(3)(A).
    See, e.g., DISH Network L.L.C. v. Galindo, No. 3:21-cv-00218, Doc. 19 (S.D. Tex. June 9,
2022) (entering judgment against persons involved in operating the Nitro TV streaming service
and awarding damages of more than $100 million upon finding violations of federal law, including
DMCA violations based on circumvention of the DRMs); EchoStar Satellite L.L.C. v. Global
Techs., Inc., No. 07-cv-05897-JZ-PLA, Doc. 279 (C.D. Cal.) (granting summary judgment and
awarding DISH and NagraStar more than $626 million for violations of the DMCA, calculated at
$2,500 for each infringing product sold).
  This letter places you on formal notice of the infringing conduct outlined above. You must
immediately:
         cease circumventing the DRMs or any other technological measures that DISH implements
          to protect the Programming;
         cease retransmitting the Programming or any other programming of DISH: and
         cease providing your Sharma IPTV service or any other service that offers the
          Programming, including the sale of any codes, credits, or subscriptions to any such
          services.
    We are prepared to settle all claims against you that arise from or relate to the conduct outlined
herein upon the full execution of a confidential settlement agreement. This settlement will include:
(1) an agreement that you will refrain from any further infringing conduct, (2) your full
cooperation, and (3) payment of $1,000,000.
To discuss this matter, you must contact NagraStar at 1 (844) 728-7226, via email at
investigations@nagrastar.com, or at the following address:
NagraStar LLC
Attn: Bert Eichhorn
90 Inverness Circle East
Englewood, CO 80112
Please accept this as notice that resolution of this matter must be made within ten days from the
date of this letter. This letter is without waiver of any rights or remedies in connection with this
matter, all of which are expressly reserved.

          Regards,



          Bert Eichhorn
          NagraStar LLC

cc:       DISH Network L.L.C.
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  EXHIBIT 8
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        Domain Research Suite | WHOIS History Search



Historical WHOIS report for sharmaiptv.com


Record(s) by date

        WHOIS record on December 28, 2023




Statistics

        1 Historical record(s) found

        1 Different domain registrar(s)

        1 Different domain owner(s)

        100% Records with public ownership data




1 Whois API LLC | www.whoisxmlapi.com
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         Domain Research Suite | WHOIS History Search




WHOIS record on December 28, 2023

Domain age

Created Date: December 28, 2023 01:37:03 UTC
Updated Date: December 28, 2023 08:02:03 UTC
Expires Date: December 28, 2024 01:37:03 UTC




Registrar Name

PDR Ltd. d/b/a PublicDomainRegistry.com




WHOIS Server

whois.publicdomainregistry.com




Name Servers

bryce.ns.cloudflare.com|melany.ns.cloudflare.com




Status


clientTransferProhibited




2 Whois API LLC | www.whoisxmlapi.com
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         Domain Research Suite | WHOIS History Search


Registrant Contact

Registrant Name: Vaneet Sharma
Registrant Organization: Sharma IPTV
Registrant Street: 4975 Camino Tassajara
Registrant City: Danville
Registrant State/Province: CA
Registrant Postal Code: 94506
Registrant Country: UNITED STATES
Registrant Email: sharmaiptv@proton.me
Registrant Phone: 19252058867




Administrative Contact

Administrative Name: Vaneet Sharma
Administrative Organization: Sharma IPTV
Administrative Street: 4975 Camino Tassajara
Administrative City: Danville
Administrative State/Province: CA
Administrative Postal Code: 94506
Administrative Country: UNITED STATES
Administrative Email: sharmaiptv@proton.me




3 Whois API LLC | www.whoisxmlapi.com
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         Domain Research Suite | WHOIS History Search


Technical Contact

Technical Name: Vaneet Sharma
Technical Organization: Sharma IPTV
Technical Street: 4975 Camino Tassajara
Technical City: Danville
Technical State/Province: CA
Technical Postal Code: 94506
Technical Country: UNITED STATES
Technical Email: sharmaiptv@proton.me




Clean Text


Domain Name: SHARMAIPTV.COM

Registrar WHOIS Server: whois.publicdomainregistry.com

Registrar URL: www.publicdomainregistry.com

Updated Date: 2023-12-28T08:02:03Z

Creation Date: 2023-12-28T01:37:03Z

Registrar Registration Expiration Date: 2024-12-28T01:37:03Z

Registrar: PDR Ltd. d/b/a PublicDomainRegistry.com

Registrar IANA ID: 303

Domain Status: clientTransferProhibited https://icann.org/epp#clientTransferProhibited

Registrant Name: Vaneet Sharma

Registrant Organization: Sharma IPTV

Registrant Street: 4975 Camino Tassajara




4 Whois API LLC | www.whoisxmlapi.com
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         Domain Research Suite | WHOIS History Search



Registrant City: Danville

Registrant State/Province: CA

Registrant Postal Code: 94506

Registrant Country: US

Registrant Phone: +1.9252058867

Registrant Email: sharmaiptv@proton.me

Admin Name: Vaneet Sharma

Admin Organization: Sharma IPTV

Admin Street: 4975 Camino Tassajara

Admin City: Danville

Admin State/Province: CA

Admin Postal Code: 94506

Admin Country: US

Admin Phone: +1.9252058867

Admin Email: sharmaiptv@proton.me

Tech Name: Vaneet Sharma

Tech Organization: Sharma IPTV

Tech Street: 4975 Camino Tassajara

Tech City: Danville

Tech State/Province: CA

Tech Postal Code: 94506




5 Whois API LLC | www.whoisxmlapi.com
              Case 3:24-cv-00961-JSC Document 8-5 Filed 02/20/24 Page 29 of 67

         Domain Research Suite | WHOIS History Search



Tech Country: US

Tech Phone: +1.9252058867

Tech Email: sharmaiptv@proton.me

Name Server: bryce.ns.cloudflare.com

Name Server: melany.ns.cloudflare.com

Registrar Abuse Contact Email: abuse-contact@publicdomainregistry.com

Registrar Abuse Contact Phone: +1.2013775952




Raw Text


Domain Name: SHARMAIPTV.COM

Registry Domain ID: 2841252386_DOMAIN_COM-VRSN

Registrar WHOIS Server: whois.publicdomainregistry.com

Registrar URL: www.publicdomainregistry.com

Updated Date: 2023-12-28T08:02:03Z

Creation Date: 2023-12-28T01:37:03Z

Registrar Registration Expiration Date: 2024-12-28T01:37:03Z

Registrar: PDR Ltd. d/b/a PublicDomainRegistry.com

Registrar IANA ID: 303

Domain Status: clientTransferProhibited https://icann.org/epp#clientTransferProhibited

Registry Registrant ID: Not Available From Registry

Registrant Name: Vaneet Sharma




6 Whois API LLC | www.whoisxmlapi.com
              Case 3:24-cv-00961-JSC Document 8-5 Filed 02/20/24 Page 30 of 67

         Domain Research Suite | WHOIS History Search



Registrant Organization: Sharma IPTV

Registrant Street: 4975 Camino Tassajara

Registrant City: Danville

Registrant State/Province: CA

Registrant Postal Code: 94506

Registrant Country: US

Registrant Phone: +1.9252058867

Registrant Phone Ext:

Registrant Fax:

Registrant Fax Ext:

Registrant Email: sharmaiptv@proton.me

Registry Admin ID: Not Available From Registry

Admin Name: Vaneet Sharma

Admin Organization: Sharma IPTV

Admin Street: 4975 Camino Tassajara

Admin City: Danville

Admin State/Province: CA

Admin Postal Code: 94506

Admin Country: US

Admin Phone: +1.9252058867

Admin Phone Ext:




7 Whois API LLC | www.whoisxmlapi.com
                Case 3:24-cv-00961-JSC Document 8-5 Filed 02/20/24 Page 31 of 67

         Domain Research Suite | WHOIS History Search



Admin Fax:

Admin Fax Ext:

Admin Email: sharmaiptv@proton.me

Registry Tech ID: Not Available From Registry

Tech Name: Vaneet Sharma

Tech Organization: Sharma IPTV

Tech Street: 4975 Camino Tassajara

Tech City: Danville

Tech State/Province: CA

Tech Postal Code: 94506

Tech Country: US

Tech Phone: +1.9252058867

Tech Phone Ext:

Tech Fax:

Tech Fax Ext:

Tech Email: sharmaiptv@proton.me

Name Server: bryce.ns.cloudflare.com

Name Server: melany.ns.cloudflare.com

DNSSEC: Unsigned

Registrar Abuse Contact Email: abuse-contact@publicdomainregistry.com

Registrar Abuse Contact Phone: +1.2013775952




8 Whois API LLC | www.whoisxmlapi.com
                Case 3:24-cv-00961-JSC Document 8-5 Filed 02/20/24 Page 32 of 67

         Domain Research Suite | WHOIS History Search



URL of the ICANN WHOIS Data Problem Reporting System: http://wdprs.internic.net/

>>> Last update of WHOIS database: 2023-12-28T19:32:01Z <<<


For more information on Whois status codes, please visit https://icann.org/epp


Registration Service Provided By: FASTCOMET


The data in this whois database is provided to you for information purposes

only, that is, to assist you in obtaining information about or related to a

domain name registration record. We make this information available "as is",

and do not guarantee its accuracy. By submitting a whois query, you agree

that you will use this data only for lawful purposes and that, under no

circumstances will you use this data to:

(1) enable high volume, automated, electronic processes that stress or load

this whois database system providing you this information; or

(2) allow, enable, or otherwise support the transmission of mass unsolicited,

commercial advertising or solicitations via direct mail, electronic mail, or

by telephone.

The compilation, repackaging, dissemination or other use of this data is

expressly prohibited without prior written consent from us. The Registrar of

record is PDR Ltd. d/b/a PublicDomainRegistry.com.

We reserve the right to modify these terms at any time.

By submitting this query, you agree to abide by these terms.




9 Whois API LLC | www.whoisxmlapi.com
Case 3:24-cv-00961-JSC Document 8-5 Filed 02/20/24 Page 33 of 67




  EXHIBIT 9
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EXHIBIT 10
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EXHIBIT 11
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             Defendant/Respondent                                                             E
             19> 95ÿ?9@AAB
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                09/08/2021 Appearance, Stipulation & Waiver Filed   1
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                09/08/2021 Stipulation & Waiver of Final Declaration of Disclosure   1
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                         Case 3:24-cv-00961-JSC Document 8-5 Filed
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                        Case 3:24-cv-00961-JSC Document 8-5 Filed
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                         Case 3:24-cv-00961-JSC Document 8-5 Filed
                    10/21/2022 Income & Expense Declaration Filed


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